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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY
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AT 810                                                                        WIttiTWALSHM
WLUAM T. WALSH, CLERK                                                             CLERK

    UNITED STATES OF AMERICA                 :       Hon.

                v.                           :       Criminal No. 20-    O? (rsil)
   MICHAEL CHEFF                             :       18 U.S.C.   §   241, 1519, & 2


                                    INDICTMENT

         The Grand Jury in and for the District of New Jersey, sitting at Newark,

   charges:

                                        Count 1
                     (Conspiracy to Deprive Persons of Civil Rights)

         1.     At all times relevant to Count 1 of this Indictment:

                a.        Defendant MICHAEL CHEFF (“CHEFF”) was a Sergeant

   employed by the Paterson Police Department (“PPD”) in Paterson, New Jersey.

                b.        Eudy Ramos (“Ramos”), Daniel Pent (“Pent”), Jonathan

   Bustios (“Bustios”), Matthew Torres (“Torres”) and Frank Toledo (“Toledo”) were

   police officers employed by the PPD (collectively, the “Officers”).

                c.        CHEFF and the Officers were assigned to the same squad

   within the PPD and typically worked a shift that began at approximately 4:30

   a.m. and ended at approximately 3:45 p.m. In his role as a PPD Sergeant,

   CHEFF supervised the Officers and approved the Officers’ reports and other

   paperwork related to arrests and seizures of money, narcotics, and firearms,

   among other things.


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       2.    From in or about 2016 to in or about April 2018, in Passaic

County, in the District of New Jersey, and elsewhere, defendant

                                MICHAEL CHEFF

knowingly and willfully conspired and agreed with the Officers to injure,

oppress, threaten, and intimidate individuals in Paterson in the free exercise

and enjoyment of the rights secured to them by the Constitution and laws of

the United States, namely: (a) their right to be free from unreasonable searches

and seizures by one acting under color of law; and (b) their right not to be

deprived of property without due process of law by one acting under color of

law.

                             Goal of the Conspiracy

       3.    It was the goal of the conspiracy for CHEFF and the Officers, acting

under color of law, to: (a) illegally stop and search vehicles and the occupants

of those vehicles; (b) illegally stop and search individuals in buildings or on the

streets of Paterson; (c) illegally enter and search residences in Paterson; (d)

steal money from the individuals who the co-conspirators stopped and

searched illegally and from the residences; (e) conceal these activities from the

PPD by submitting and approving false reports that omitted, or lied about, their

illegal activities; and (f) split the proceeds among CHEFF and the Officers.

                               Manner and Means

       4.    It was part of the conspiracy that:

             a.    While on official duty, the Officers illegally targeted and


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stopped certain occupants of vehicles who they believed carried sums of

money.

             b.     The Officers conducted vehicle stops of those individuals

without any legal basis.

             c.     The Officers searched the motor vehicles, the drivers, and

the passengers, without any legal basis.

             d.     The Officers seized cash from the vehicles’ occupants, split

the cash proceeds among themselves, and passed along a portion of the stolen

proceeds to CHEFF.

             e.     While on official duty, the Officers illegally stopped and

searched individuals in buildings and on the streets of Paterson, seized cash

from those individuals, split the cash proceeds among themselves, and passed

along a portion of the stolen proceeds to CHEFF.

             f.     The Officers communicated via text message regarding their

criminal conduct, using the word “mango” to refer to cash.

             g.     CHEFF and the Officers concealed these criminal activities

from the PPD by submitting and approving false reports and other paperwork

that omitted, or lied about, their illegal activities.

             h.     For example, on or about November 14, 2017, in Paterson,

CHEFF, Ramos, and Bustios (a) stole money from a safe in a residence in

Paterson; and (b) submitted and approved a PPD Incident Report that falsely




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omitted the theft of money.      This theft and corresponding false report are

described below:

                      i.     Bustios, Ramos, and Torres stopped and arrested

Victim 1 outside of Victim l’s residence (the “Residence”).     During the arrest,

Bustios stole several hundred dollars from Victim 1.

                     ii.     CHEFF, Ramos, and Bustios lied to Victim 1 and

Victim l’s mother to obtain their consent to search the Residence.

                    iii.     During the subsequent search of the Residence,

CHEFF removed approximately $2,000 from a safe in Victim l’s room and

placed most of the cash into his pocket.        CHEFF gave a small amount of the

cash to Bustios to submit as evidence to the PPD.

                    iv.      Following the theft, at PPD headquarters, CHEFF gave

Bustios a small additional amount of the stolen cash and told Bustios to place

it into evidence.      In total, Bustios submitted approximately $319 into evidence.

                     v.      Bustios drafted, and CHEFF approved, a PPD Incident

Report concerning the search of the Residence.        The PPD Incident Report

falsely stated that the search of the Residence yielded “$319 on the top of a

shelf in [Victim 1 ‘sI room,” when, in fact, the search of the Residence yielded

approximately $2,000 from the inside of a safe.

                    vi.      At PPD headquarters, CHEFF passed along a portion

of the sto’en cash to Ramos and an additional portion of the stolen cash to

Torres.


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               vii.       Bustios and Toledo discussed over text message

CHEEP’s theft of cash from the safe:

            Bustios:      Cheff got us for over a stack today
                          Lol

            Toledo:       Lmao how

            Bustios:      We got a consent to search at plesinger
                          There   ras   a   safe




                          He grabbed the cash
                          Suspect said he had $1,500
                          Chef [sic] gave me $139
                          Lmai
                          Then $160 later lol
                          And told me to tag it all

            Toledo:       Fuckkkkk outta here lmao
                          Nigga lied to you

            Bustios:      Word up man
                          Who the suspect?

            Toledo:       Can’t say anything tho
                          Cheff will look us out no matter what b

             Bustios:     We had already gotten mangoes [cash] earlier lol

             Toledo:      He low key pulled rank

             Bustios:     So it was whatever r
                          Lol from now on
                          Everybody’s car is getting searched and everyone is
                          getting asked if we can search their car
                          And threaten to lock up their momma if they don’t let
                          us search their house lmao

               viii.       Bustios and Torres also discussed over text message

 CHEFF’s theft of cash:

             Torres:       Nigga I want my cut lol.   Thought there should’ve


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                    been something more

        Bustios:    Yea $200
                    But that’s not from the safe
                    Lol ur boss [CHFDFF9 has that

        Torres:     Nig he [CHEFF] beat us all.     Cool if I collect that from
                    u day 4.

        Bustios:    Well it’s $200 split 3 ways
                    So $65
                    I’ll give it to Eudy
                    I’m not in day 4
                    Only reason I tagged that much mango [cash] was
                    because Cheff made me
                    Just FYI

        Torres:      Appreciate it.   I’ll see you next 4 bud

  In violation of Title 18, United States Code, Section 241.




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                                    Count 2
                           (Falsification of Record)

      1.    The allegations in paragraphs 1 and 4 of Count 1 of this Indictment

are incorporated here.

      2.    Conspiracy and substantive offenses involving the deprivation of

civil rights, to include the right to be free from unreasonable searches and

seizures, and the right not to be deprived of property without due process of law,

by a person acting under color of law, contrary to Title 18, United States Code,

Sections 241 and 242, are matters within the jurisdiction of the Federal Bureau

of Investigation (the “FBI”), which is an agency within the United States

Department of Justice.

      3.     On or about November 14, 2017, in Passaic County, in the District

of New Jersey, and elsewhere, defendant

                                MICHAEL CHEFF

knowingly concealed, covered up, falsified, and made false entries in a Paterson

Police Department Incident Report with the intent to impede, obstruct and

influence the investigation and proper administration of matters within the

jurisdiction of the United States Department of Justice and the FBI, and in

relation to and contemplation of such matters.

       In violation of Title 18, United States Code, Section 1519 and Section 2.




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CRAJdJDARPEbITO
United States Attorney




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                                                                             District of New Jersey
                                                                           UNITED STATES OF AMERICA
                                                                                        V.
                                                                                MICHAEL CHEFF
                                                                              INDICTMENT FOR
                                                                                   18 U.S.C. § 241
                                                                                  18 U.S.C. § 1519
                                                                                    18 U.S.C. § 2
                                                                                   A TRUE BILL,
                                                                                   a
                                                                                CRAIG CARPENITO
                                                                                   U.S. ATTORNEY
                                                                                NEWARK, NEW JERSEY
                                                                                 RAHUL AGARWAL
                                                                               LEE M. CORTES, JR.
                                                                              ASSISTANT U.S. ATTORNEYS
                                                                                   (973) 297-4395
                                                                                    973) 645-2742
